          Case: 1:24-cr-00498 Document #: 1 Filed: 10/24/24 Page 1 of 21 PageID #:1


   FI/2L4E D                                                 AUSA Kirsten Moran (312) 886-2954

     10  /2024              UNITED STATES DISTRICT COURT
                  . BRUTO    N    NORTHERN DISTRICT OF ILLINOIS
     THOMA.SDG     T R IC T COURT
C LE R K , U .S IS                     EASTERN DIVISION

   UNITED STATES OF AMERICA
                                                          1:24-cr-00498
                 v.
                                                         JEFFREY T. GILBERT
   DAVID BRIAN LINDSEY,                                  Magistrate Judge
   also known as “Browneyez”

                       AFFIDAVIT IN REMOVAL PROCEEDING

           I, THOMAS J. CALLAGHAN, appearing before United States Magistrate Judge

   JEFFREY T. GILBERT by telephone and being duly sworn under oath, state that as a

   federal law enforcement officer I have been informed that DAVID BRIAN LINDSEY,

   also known as “Browneyez,” has been charged by Indictment in the Central District of

   California with the following criminal offenses: conspiracy to commit murder for hire

   resulting in death, in violation of Title 18, United States Code, Section 1958(a); murder

   for hire resulting in death, in violation of Title 18, United States Code, Sections 1958(a)

   and 2(a); and use, carry, and discharge of firearms and a machine gun, and possession

   of such firearms, in furtherance of a crime of violence, resulting in death, in violation of

   Title 18, United States Code, Sections 924(c)(1)(A), (B)(ii), and (j)(1).

           A copy of the Indictment is attached. A copy of the arrest warrant also is

   attached.


                                                           THOMAS J. CALLAGHAN
                                                           Special Agent
                                                           Federal Bureau of Investigation


   SWORN TO AND AFFIRMED by telephone this 24th day of October, 2024.


                                                           JEFFREY T. GILBERT
                                                           United States Magistrate Judge
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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 June 2024 Grand Jury

11   UNITED STATES OF AMERICA,                   CR No. 2:24-cr-00621-MRA

12             Plaintiff,                        I N D I C T M E N T

13             v.                                [18 U.S.C. § 1958(a): Conspiracy
                                                 and Use of Interstate Facilities
14   KAVON LONDON GRANT,                         to Commit Murder-For-Hire
       aka “Cuz,”                                Resulting in Death; 18 U.S.C.
15     aka “Vonnie,”                             §§ 924(c)(1)(A)(iii),
     DEANDRE DONTRELL WILSON,                    (c)(1)(B)(ii), (j)(1): Use, Carry,
16     aka “DeDe,”                               and Discharge of Firearms and
     KEITH JONES,                                Machinegun, and Possession of Such
17     aka “Flacka,”                             Firearms, in Furtherance of a
     DAVID BRIAN LINDSEY,                        Crime of Violence, Resulting in
18     aka “Browneyez,” and                      Death; 18 U.S.C. § 922(o):
     ASA HOUSTON,                                Possession of a Machinegun; 18
19     aka “Boogie,”                             U.S.C. §§ 981(a)(1)(C), 924(d)(1),
                                                 and 28 U.S.C. § 2461(c): Criminal
20             Defendants.                       Forfeiture]
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24        The Grand Jury charges:
25                              INTRODUCTORY ALLEGATIONS
26        1.    At times relevant to this Indictment, defendants KAVON
27   LONDON GRANT, also known as (“aka”) “Cuz,” aka “Vonnie,” DEANDRE
28   DONTRELL WILSON, aka “DeDe,” ASA HOUSTON, aka “Boogie,” and
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 1   Co-Conspirators 1-5 were members or associates of an organization

 2   called Only the Family, or “OTF” which, among other things, produced

 3   and sold hip hop music from artists primarily from the Chicago,

 4   Illinois area.     Defendants KEITH JONES, aka “Flacka,” and DAVID BRIAN

 5   LINDSEY, aka “Browneyez,” were members of other gangs in Chicago,

 6   Illinois.

 7        2.     On or about November 6, 2020, D.B., a high-ranking OTF

 8   member, got into a physical altercation with T.B. at a nightclub in

 9   Atlanta, Georgia.      During the fight, an associate of T.B. pulled out

10   a gun and shot D.B. multiple times, killing him.               After the murder,

11   Co-Conspirator 1 made clear, in coded language, that Co-Conspirator 1

12   would pay a bounty or monetary reward, and/or make payment to anyone

13   who took part in killing T.B. for his role in D.B.’s murder.

14        3.     On or about August 18, 2022, the conspirators learned that

15   T.B. was staying at a hotel in Los Angeles, California.                 As alleged

16   in Counts One and Two, after learning of T.B.’s location, defendants

17   WILSON, JONES, LINDSEY, and HOUSTON, and Co-Conspirator 2 traveled

18   from Chicago, Illinois, to Los Angeles, California, for the purpose

19   of murdering T.B.      On that same day --- August 18, 2022 --- defendant

20   GRANT also traveled by private jet to Los Angeles, California.

21        4.     As alleged in Counts One and Two, on August 19, 2022,

22   defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON, and

23   Co-Conspirator 2 used two vehicles to track, stalk, and attempt to

24   kill T.B. by gunfire --- including with a fully automatic firearm ---

25   resulting in the death of S.R.

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 1                                         COUNT ONE

 2                                 [18 U.S.C. § 1958(a)]

 3                                     [ALL DEFENDANTS]

 4         Paragraphs 1 through 4 of the Introductory Allegations of this

 5   Indictment are re-alleged and incorporated here.

 6   A.    OBJECT OF THE CONSPIRACY

 7         Beginning on a date unknown, but no later than on or around
 8   August 18, 2022, and continuing to on or about August 19, 2022, in
 9   Los Angeles County, within the Central District of California, and
10   elsewhere, defendants KAVON LONDON GRANT, also known as (“aka”)
11   “Cuz,” aka “Vonnie,” DEANDRE DONTRELL WILSON, aka “DeDe,” KEITH
12   JONES, aka “Flacka,” DAVID BRIAN LINDSEY, aka “Browneyez,” and ASA
13   HOUSTON, aka “Boogie,” and co-conspirators known and unknown,
14   conspired and agreed with each other to knowingly use facilities of
15   interstate and foreign commerce, namely, airplanes, cars, cell
16   phones, and the internet, with intent that the murder of T.B. be
17   committed in violation of the laws of any State, namely, the State of
18   California, as consideration for the receipt of, and consideration
19   for a promise and agreement to pay, anything of pecuniary value,
20   namely, money and lucrative music opportunities with OTF, in
21   violation of Title 18, United States Code, Section 1958(a).
22         The use of interstate facilities to commit murder that was the
23   object of the conspiracy resulted in the death of S.R.
24   B.    MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE
25         ACCOMPLISHED
26         The object of the conspiracy was to be accomplished, in
27   substance, as follows:
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 1        1.     Co-Conspirator 1 would place bounties on individuals that

 2   Co-Conspirator 1 and other OTF members wanted to kill, including T.B.

 3   As part of the bounty, co-conspirators known and unknown, including

 4   defendant WILSON, would pay anyone who took part in the killing of

 5   T.B. and/or reward individuals with lucrative music opportunities

 6   with OTF.

 7        2.     Co-conspirators known and unknown, including defendant

 8   WILSON, would recruit others, including defendants JONES, LINDSEY,

 9   and HOUSTON, and Co-Conspirator 2, to find, track, and kill T.B.

10        3.     Defendant GRANT would procure cars, ski masks, and firearms

11   that would be used by co-conspirators to find, track, and kill T.B.

12        4.     Using a credit card associated with OTF, Co-Conspirator 3

13   would purchase airplane tickets for the co-conspirators to fly to

14   California and murder T.B.

15        5.     Defendants WILSON, JONES, LINDSEY, and HOUSTON, and

16   Co-Conspirator 2, would travel from Chicago, Illinois to Southern

17   California via airplane to find, track, and kill T.B.

18        6.     Defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON, and

19   Co-Conspirator 2, would travel throughout Los Angeles County via cars

20   procured by defendant GRANT to find, track, and kill T.B.

21        7.     Defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON, and

22   Co-Conspirator 2, would communicate via cell phone to coordinate

23   logistics to find, track, and kill T.B.

24        8.     Defendants JONES and LINDSEY, and Co-Conspirator 2, would

25   fire multiple shots at T.B., killing S.R., who was a passenger in

26   T.B.’s vehicle.

27        9.     Defendant WILSON would pay the bounty or monetary reward,

28   and/or cause payment to be made for the killing of S.R., on behalf of
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 1   co-conspirators known and unknown, to the conspirators hired to kill

 2   T.B.

 3   C.      OVERT ACTS

 4           On or about the following dates, in furtherance of the
 5   conspiracy and to accomplish its object, defendants GRANT, WILSON,
 6   JONES, LINDSEY, and HOUSTON, and Co-Conspirators 1-5, and others
 7   known and unknown, committed various overt acts in Los Angeles
 8   County, within the Central District of California, and elsewhere,
 9   including, but not limited to, the following:
10           Overt Act No. 1:         Following the killing of D.B. on or about
11   November 6, 2020, Co-Conspirator 1, using coded language, told
12   defendant WILSON, Co-Conspirators 2, 4, and 5, and others that
13   Co-Conspirator 1 would pay a bounty or monetary reward to anyone who
14   took part in the killing of T.B.
15           Overt Act No. 2:         On August 18, 2022, one or more
16   co-conspirators, including Co-Conspirator 4, learned that T.B. was
17   visiting California and staying at a hotel in Los Angeles.
18           Overt Act No. 3:         On August 18, 2022, defendant GRANT flew
19   from Miami, Florida to Los Angeles, California on a private jet, so
20   that defendant GRANT could help coordinate the murder of T.B.
21           Overt Act No. 4:         On August 18, 2022, co-conspirators,
22   including Co-Conspirator 5, asked Co-Conspirator 2 to travel to
23   Southern California later that day.
24           Overt Act No. 5:         On August 18, 2022, defendant WILSON
25   recruited defendants JONES and LINDSEY to travel to California for
26   the purpose of murdering T.B. and helped facilitate such travel by,
27   among other things, texting Co-Conspirator 3 biographical information
28   about defendants JONES and LINDSEY so that Co-Conspirator 3 could
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 1   book flights to Southern California, specifically: defendant JONES’

 2   name, date of birth, and a picture of defendant JONES’ ID card; and

 3   defendant LINDSEY’s name, date of birth, and a picture of defendant

 4   LINDSEY’s ID card.

 5           Overt Act No. 6:         On August 18, 2022, Co-Conspirator 1 texted

 6   Co-Conspirator 3: “Don't book no flights under no names involved wit
 7   me.”
 8           Overt Act No. 7:         On August 18, 2022, using a credit card
 9   ending in -2039 (“OTF Credit Card 1”), Co-Conspirator 3 purchased
10   airplane tickets for defendants WILSON, JONES, LINDSEY, and HOUSTON,
11   and Co-Conspirator 2 to travel from Chicago, Illinois to San Diego,
12   California that same day.
13           Overt Act No. 8:         On August 18, 2022, Co-Conspirator 3
14   confirmed to defendant WILSON via text message that defendants
15   WILSON, JONES, and LINDSEY had the same airline ticket confirmation.
16           Overt Act No. 9:         On August 18, 2022, defendant WILSON
17   messaged a friend on Instagram: “On my way to LA.”
18           Overt Act No. 10:        On August 18, 2022, defendant HOUSTON texted
19   Co-Conspirator 3: “On got clear im 15 minutes away from airport.”
20           Overt Act No. 11:        On August 18, 2022, defendants WILSON,
21   JONES, LINDSEY, and HOUSTON, and Co-Conspirator 2 flew from Chicago,
22   Illinois to San Diego, California via the airplane tickets procured
23   by Co-Conspirator 3 using OTF Credit Card 1.
24           Overt Act No. 12:        On August 18, 2022, defendants WILSON,
25   JONES, LINDSEY, and HOUSTON, and Co-Conspirator 2 traveled towards
26   Los Angeles County in a car to meet with defendant GRANT.
27           Overt Act No. 13:        On August 18, 2022, defendant GRANT
28   purchased four black ski masks from a sporting goods store in Los
                                                  6
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 1   Angeles County using cash.

 2        Overt Act No. 14:        On August 18, 2022, using a credit card

 3   ending in -1015 (“OTF Credit Card 2”), defendant GRANT rented a hotel
 4   room for the co-conspirators located in Los Angeles, California (the
 5   “Universal City Hotel”).
 6        Overt Act No. 15:        On August 18, 2022, in or around Los
 7   Angeles, California, defendant GRANT met with the co-conspirators and
 8   provided defendants JONES and LINDSEY, and Co-Conspirator 2 with
 9   firearms --- including a firearm that had been modified to operate as
10   a fully automatic machinegun --- to kill T.B.
11        Overt Act No. 16:        On August 18, 2022, defendant GRANT provided
12   two cars for defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON,
13   and Co-Conspirator 2 to use to find, track, and kill T.B. --- a white
14   BMW sedan (the “BMW”) from a rental company in Los Angeles County,
15   and a white Infiniti sedan (the “Infiniti”) with a fake license
16   plate.
17        Overt Act No. 17:        On August 18, 2022, defendants GRANT,
18   WILSON, JONES, LINDSEY, and HOUSTON, and Co-Conspirator 2 traveled in
19   the BMW and the Infiniti to a hotel in downtown Los Angeles,
20   California where T.B. was staying (the “Downtown L.A. Hotel”) to
21   find, track, and kill T.B.
22        Overt Act No. 18:        On August 19, 2022, using the BMW and
23   Infiniti, defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON, and
24   Co-Conspirator 2 traveled to the Downtown L.A. Hotel where T.B. was
25   staying to find, track, and kill T.B.
26        Overt Act No. 19:        On August 19, 2022, using the BMW and
27   Infiniti, defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON, and
28   Co-Conspirator 2 followed and tracked T.B.’s black Escalade to a
                                               7
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 1   marijuana dispensary located on Flower Street, in Los Angeles,

 2   California.

 3        Overt Act No. 20:        On August 19, 2022, using the BMW and

 4   Infiniti, defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON, and
 5   Co-Conspirator 2 followed and tracked T.B.’s black Escalade to a
 6   clothing store located on Melrose Avenue, in West Hollywood,
 7   California.    The below image shows the BMW and Infiniti following the
 8   black Escalade in which T.B. and S.R. were passengers, as the black
 9   Escalade traveled towards the clothing store.
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 1          Overt Act No. 21:        On August 19, 2022, using the BMW and

 2   Infiniti, defendants GRANT, WILSON, JONES, LINDSEY, and HOUSTON, and

 3   Co-Conspirator 2 tracked T.B.’s black Escalade to a gas station

 4   located on Beverly Boulevard, in Los Angeles, California (the

 5   “Beverly Gas Station”).

 6          Overt Act No. 22:        On August 19, 2022, defendant HOUSTON drove

 7   the Infiniti to an alley behind the Beverly Gas Station and parked
 8   the vehicle, so that defendants JONES and LINDSEY, and Co-Conspirator
 9   2 could attempt to murder T.B.
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 1          Overt Act No. 23:        On August 19, 2022, at the Beverly Gas

 2   Station, defendants JONES and LINDSEY, and Co-Conspirator 2 used the

 3   firearms procured by defendant GRANT --- including the fully

 4   automatic firearm --- to shoot at T.B.’s car, striking and killing

 5   S.R., who was standing next to T.B.’s car while T.B. was inside.                   The

 6   images below show defendants JONES and LINDSEY, and Co-Conspirator 2

 7   firing their guns at T.B.’s black Escalade.

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 1        Overt Act No. 24:        On August 19, 2022, in the Infiniti driven

 2   by defendant HOUSTON, defendants JONES and LINDSEY, and

 3   Co-Conspirator 2 fled the alley behind the Beverly Gas Station after

 4   the conspirators shot and killed S.R.

 5        Overt Act No. 25:        On August 19, 2022, defendants GRANT,

 6   WILSON, JONES, LINDSEY, and HOUSTON, and Co-Conspirator 2 traveled to
 7   a hamburger restaurant in Los Angeles County, where the
 8   co-conspirators discussed, among other things, payments to defendants
 9   JONES and LINDSEY for the shooting earlier that day.
10        Overt Act No. 26:        On August 19, 2022, using OTF Credit Card 1,
11   Co-Conspirator 3 purchased airline tickets from San Diego,
12   California, to Chicago, Illinois, for defendants WILSON, JONES,
13   LINDSEY, and HOUSTON, and Co-Conspirator 2.
14        Overt Act No. 27:        On August 19, 2022, defendants WILSON,
15   JONES, LINDSEY, and HOUSTON, and Co-Conspirator 2 flew back to
16   Chicago, Illinois from San Diego, California.
17        Overt Act No. 28:        Following S.R.’s murder, defendant WILSON
18   paid defendants JONES and LINDSEY on behalf of a co-conspirator for
19   their role in the murder.
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 1                                        COUNT TWO

 2                            [18 U.S.C. §§ 1958(a), 2(a)]

 3                                    [ALL DEFENDANTS]

 4        Beginning on a date unknown, but no later than on or around

 5   August 18, 2022, and continuing to on or about August 19, 2022, in

 6   Los Angeles County, within the Central District of California, and

 7   elsewhere, defendants KAVON LONDON GRANT, also known as (“aka”)

 8   “Cuz,” aka “Vonnie,” DEANDRE DONTRELL WILSON, aka “DeDe,”                 KEITH

 9   JONES, aka “Flacka,” DAVID BRIAN LINDSEY, aka “Browneyez,” and ASA

10   HOUSTON, aka “Boogie,” and co-conspirators known and unknown, each

11   aiding and abetting the other, knowingly used facilities of

12   interstate and foreign commerce, namely, airplanes, cars, cell

13   phones, and the internet, with intent that the murder of T.B. be

14   committed in violation of the laws of any State, namely, the State of

15   California, as consideration for the receipt of, and consideration

16   for a promise and agreement to pay, anything of pecuniary value,

17   namely, money and lucrative music opportunities with OTF, resulting

18   in the death of S.R.

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 1                                       COUNT THREE

 2           [18 U.S.C. §§ 924(c)(1)(A)(iii), (B)(ii), (j)(1), 2(a)]

 3                                    [ALL DEFENDANTS]

 4        On or about August 19, 2022, in Los Angeles County, within the

 5   Central District of California, defendants KAVON LONDON GRANT, also

 6   known as (“aka”) “Cuz,” aka “Vonnie,” DEANDRE DONTRELL WILSON, aka

 7   “DeDe,” KEITH JONES, aka “Flacka,” DAVID BRIAN LINDSEY, aka

 8   “Browneyez,” and ASA HOUSTON, aka “Boogie,” together with

 9   Co-Conspirator 2, each aiding and abetting the other, knowingly used

10   and carried firearms, including a firearm that defendants GRANT,

11   WILSON, JONES, LINDSEY, and HOUSTON knew to be a machinegun, during

12   and in relationship to, and possessed such firearms in furtherance

13   of, a crime of violence, namely, Use of Interstate Facilities to

14   Commit Murder-For-Hire Resulting in Death, in violation of Title 18,

15   United States Code, Section 1958(a), as charged in Count Two of this

16   Indictment, and, in so doing, discharged the firearms, resulting in

17   the death of S.R.

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 1                                       COUNT FOUR

 2                                 [18 U.S.C. § 922(o)]

 3                                   [DEFENDANT JONES]

 4        On or about August 19, 2022, in Los Angeles County, within the

 5   Central District of California, defendant KEITH JONES, aka “Flacka,”

 6   knowingly possessed a machinegun, as defined in Title 18, United

 7   States Code Section 921(a)(3), and Title 26, United States Code,

 8   Section 5845(b), namely, a 10mm caliber firearm equipped with an

 9   auto-sear conversion device which was designed and intended, solely

10   and exclusively, for use in converting a weapon into a machinegun,

11   which defendant JONES knew to be a machinegun.

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 1                              FORFEITURE ALLEGATION ONE

 2        [18 U.S.C. §§ 981(a)(1)(C), 924(d)(1); 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Sections 981(a)(1)(C), 924(d)(1), and Title 28,

 7   United States Code, Section 2461(c), in the event of any defendant’s

 8   conviction of the offenses set forth in any of Counts One and Two of

 9   this Indictment.

10        2.    Any defendant so convicted shall forfeit to the United

11   States of America the following:

12              (a)    All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to any of the offenses;

15              (b)    All right, title, and interest in any firearm or

16   ammunition involved in or used in any such offense and

17              (c)    To the extent such property is not available for

18   forfeiture, a sum of money equal to the total value of the property

19   described in subparagraphs (a) and (b).

20        3.    Pursuant to Title 21, United States Code, Section 853(p),

21   as incorporated by Title 28, United States Code, Section 2461(c), any

22   defendant so convicted shall forfeit substitute property, up to the

23   value of the property described in the preceding paragraph if, as the

24   result of any act or omission of said defendant, the property

25   described in the preceding paragraph or any portion thereof (a)

26   cannot be located upon the exercise of due diligence; (b) has been

27   transferred, sold to, or deposited with a third party; (c) has been

28   placed beyond the jurisdiction of the court; (d) has been
                                               15
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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

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 1                                FORFEITURE ALLEGATION TWO

 2                    [18 U.S.C. § 924(d)(1); 28 U.S.C. § 2461(c)]

 3          1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1), and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offenses set forth in any of Counts Three and Four of this

 9   Indictment.

10          2.    Any defendant so convicted shall forfeit to the United

11   States of America the following:

12                (a)    All right, title, and interest in any firearm or

13   ammunition involved in or used in any such offense; and

14                (b)    To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17          3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), any

19   defendant so convicted shall forfeit substitute property, up to the

20   value of the property described in the preceding paragraph if, as the

21   result of any act or omission of said defendant, the property

22   described in the preceding paragraph or any portion thereof (a)

23   cannot be located upon the exercise of due diligence; (b) has been

24   transferred, sold to, or deposited with a third party; (c) has been

25   placed beyond the jurisdiction of the court; (d) has been

26   //

27   //

28   //
                                                 17
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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3

 4                                               A TRUE BILL
 5

 6                                               /S/
                                                 Foreperson
 7

 8   E. MARTIN ESTRADA
     United States Attorney
 9

10

11   MACK E. JENKINS
     Assistant United States Attorney
12   Chief, Criminal Division
13   IAN V. YANNIELLO
     Assistant United States Attorney
14   Chief, General Crimes Section
15   DANIEL H. WEINER
     Assistant United States Attorney
16   International Narcotics, Money
     Laundering, and Racketeering
17   Section
18

19

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                                               18
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            Case: 1:24-cr-00498 Document #: 1 Filed: 10/24/24 Page 21 of 21 PageID #:21


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                           CASE NUMBER:
                                                                                                                      4
                                                                                     2:24-cr-00621-MRA
                                           PLAINTIFF,
                 v.
 DAVID BRIAN LINDSEY,
 aka Browneyez                                                            WARRANT FOR ARREST
                                           DEFENDANT

                               ADDITIONAL DEFENDANT INFORMATION

 RACE:            SEX:         HEIGHT:           WEIGHT:    HAIR:          EYES:        OTHER:
 DATE OF BIRTH:                PLACE OF BIRTH:              SOCIAL SECURITY NO.:        DRIVER’S LICENSE    ISSUING
                                                                                        NO.                 STATE


 ALIASES:                      SCARS, TATTOOS OR OTHER DISTINGUISHING MARKS:


 AUTO YEAR:       AUTO MAKE:   AUTO MODEL:                  AUTO COLOR:                 AUTO LICENSE NO.:   ISSUING


                                                                                                            STATE


 LAST KNOWN RESIDENCE:                                      LAST KNOWN EMPLOYMENT:




 FBI NUMBER:


 ADDITIONAL INFORMATION:




 INVESTIGATIVE AGENCY NAME:                                 INVESTIGATIVE AGENCY ADDRESS:

                           FBI
NOTES:




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